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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :    Case No. 21-CR-30
                        v.                      :
                                                :
STEPHANIE HAZELTON                              :
                                                :
                        Defendant.              :


                                  NOTICE OF APPEARANCE

          The United States of America, by and through its undersigned counsel, the Acting United

States Attorney for the District of Columbia, hereby informs the Court that Assistant United States

Attorney Christopher Amore is entering his appearance in this matter on behalf of the United

States.

                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     ACTING UNITED STATES ATTORNEY
                                                     D.C. Bar No.415793

                                                     /s/ Christopher Amore
                                                     CHRISTOPHER AMORE
                                                     NY Bar No. 5032882
                                                     Assistant United States Attorney
                                                     District of Columbia
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                                                     Christopher. Amore@usdoj.gov
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                               CERTIFICATE OF SERVICE

       On this 1st day of June 2021, a copy of the foregoing was served upon all parties listed on

the Electronic Case Filing (ECF) System.

                                                    /s/ Christopher Amore
                                                    Christopher Amore
                                                    Assistant United States Attorney




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